  Fill in this information to identify your case:

  Debtor 1          Nicholas F Marich
                    __________________________________________________________________
                      First Name             Middle Name                Last Name

  Debtor 2           Jeanne   M Marich
                     ________________________________________________________________
  (Spouse, if filing) First Name             Middle Name                Last Name


                                          Northern District
  United States Bankruptcy Court for the: __________        of of
                                                      District Ohio
                                                                  __________

  Case number         24-50082-amk
                      ___________________________________________
   (If known)




 Official Form 427
 Cover Sheet for Reaffirmation Agreement                                                                                                                12/15
 Anyone who is a party to a reaffirmation agreement may fill out and file this form. Fill it out completely, attach it to the reaffirmation agreement,
 and file the documents within the time set under Bankruptcy Rule 4008.


 Part 1:        Explain the Repayment Terms of the Reaffirmation Agreement


1. Who is the creditor?             Canton School Employees Federal Credit Union
                                    __________________________________________________________________________________________________________
                                    Name of the creditor


2. How much is the debt?                                                                     49,094.98
                                    On the date that the bankruptcy case is filed    $__________________

                                                                                         49,094.98
                                    To be paid under the reaffirmation agreement $__________________

                                        1,037.76 per month for ______
                                        $________                52 months (if fixed interest rate)


3. What is the Annual                                                                 4.24
                                    Before the bankruptcy case was filed __________________%
   Percentage Rate (APR)
   of interest? (See
   Bankruptcy Code                  Under the reaffirmation agreement                      4.24  Fixed rate
                                                                              __________________%
   § 524(k)(3)(E).)                                                                                Adjustable rate
4. Does collateral secure
   the debt?                         No
                                     Yes. Describe the collateral.           2021  Chevrolet Tahoe
                                                                              ________________________________________________________________________

                                              Current market value                     51,350.00
                                                                              $__________________


5. Does the creditor assert
   that the debt is                  No
   nondischargeable?                 Yes. Attach an explanation of the nature of the debt and the basis for contending that the debt is nondischargeable.

6. Using information from       Income and expenses reported on Schedules I and J      Income and expenses stated on the reaffirmation agreement
   Schedule I: Your Income
   (Official Form 106I) and
   Schedule J: Your            6a. Combined monthly income from               5,936.25 6e. Monthly income from all sources
                                                                     $ _____________                                                     5,936.25
                                                                                                                                 $ ______________
   Expenses (Official Form         line 12 of Schedule I                                   after payroll deductions
   106J), fill in the amounts.

                                                                                6,158.78 6f. Monthly expenses
                                   6b. Monthly expenses from line 22c of – $ ___________                                                           6,158.78
                                                                                                                                           – $ ______________
                                       Schedule J

                                   6c. Monthly payments on all                           0.00 6g. Monthly payments on all
                                                                             – $ ___________                                       – $ ______________
                                                                                                                                                0.00
                                       reaffirmed debts not listed on                             reaffirmed debts not included in
                                       Schedule J                                                   monthly expenses

                                   6d. Scheduled net monthly income                   -222.53 6h. Present net monthly income
                                                                               $ ____________                                                       -222.53
                                                                                                                                             $ ______________
                                      Subtract lines 6b and 6c from 6a.                             Subtract lines 6f and 6g from 6e.
                                      If the total is less than 0, put the                          If the total is less than 0, put the
                                      number in brackets.                                           number in brackets.



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Form 2400A (12/15)



                                                                            Check one.
                                                                              ’ Presumption of Undue Hardship
                                                                              ’ No Presumption of Undue Hardship
                                                                            See Debtor’s Statement in Support of Reaffirmation,
                                                                            Part II below, to determine which box to check.




                              UNITED STATES BANKRUPTCY COURT
                                            __________
                                         Northern DistrictDistrict
                                                           of Ohioof __________

       Nicholas F Marich
In re Jeanne M Marich                                    ,                                 Case No. 24-50082-amk
                           Debtor
                                                                                           Chapter 7


                                        REAFFIRMATION DOCUMENTS

                                              Canton School Employees Federal Credit Union
                            Name of Creditor: ______________________________________

                     ’ Check this box if Creditor is a Credit Union


PART I. REAFFIRMATION AGREEMENT

Reaffirming a debt is a serious financial decision. Before entering into this Reaffirmation
Agreement, you must review the important disclosures, instructions, and definitions found in Part V of
this form.

A. Brief description of the original agreement being reaffirmed: _______________________________
                                                                 Auto Loan
                                                                                   For example, auto loan


B. AMOUNT REAFFIRMED:                     $___________________________
                                                              49,094.98

         The Amount Reaffirmed is the entire amount that you are agreeing to pay. This may include
                                                                                          03/04/2024
         unpaid principal, interest, and fees and costs (if any) arising on or before _________________,
         which is the date of the Disclosure Statement portion of this form (Part V).

          See the definition of “Amount Reaffirmed” in Part V, Section C below.

C. The ANNUAL PERCENTAGE RATE applicable to the Amount Reaffirmed is _________%.
                                                                        4.2400

         See definition of “Annual Percentage Rate” in Part V, Section C below.

         This is a (check one) ’ Fixed rate                      ’ Variable rate

If the loan has a variable rate, the future interest rate may increase or decrease from the Annual Percentage Rate
disclosed here.
Form 2400A, Reaffirmation Documents                                                                   Page 2


D. Reaffirmation Agreement Repayment Terms (check and complete one):

         ’           1,037.76 per month for ________
                   $________                   52                        03/14/2024
                                                     months starting on____________.

         ’         Describe repayment terms, including whether future payment amount(s) may be different from
                   the initial payment amount.
                   ______________________________________________________________________________
                   ______________________________________________________________________________
                   ______________________________________________________________________________

E. Describe the collateral, if any, securing the debt:

                   Description:                  ____________________________
                                                 2021 Chevrolet Tahoe
                   Current Market Value                               51,350.00
                                                 $___________________________

F. Did the debt that is being reaffirmed arise from the purchase of the collateral described above?

         ’ Yes. What was the purchase price for the collateral?                         72,801.45
                                                                           $___________________

         ’ No. What was the amount of the original loan?                   $___________________

G. Specify the changes made by this Reaffirmation Agreement to the most recent credit terms on the reaffirmed
debt and any related agreement:

                                          Terms as of the           Terms After
                                          Date of Bankruptcy        Reaffirmation

         Balance due (including
          fees and costs)                 $__________               $_________
         Annual Percentage Rate           __________%               _________%
         Monthly Payment                  $__________               $_________

H. ’ Check this box if the creditor is agreeing to provide you with additional future credit in connection with
     this Reaffirmation Agreement. Describe the credit limit, the Annual Percentage Rate that applies to
     future credit and any other terms on future purchases and advances using such credit:
     ____________________________________________________________________________________
     ____________________________________________________________________________________


PART II.           DEBTOR’S STATEMENT IN SUPPORT OF REAFFIRMATION AGREEMENT

A. Were you represented by an attorney during the course of negotiating this agreement?

         Check one.           ’ Yes       ’ No

B. Is the creditor a credit union?

         Check one.          ’ Yes        ’ No
Form 2400A, Reaffirmation Documents                                                                       Page 3


C. If your answer to EITHER question A. or B. above is “No,” complete 1. and 2. below.

   1.    Your present monthly income and expenses are:

         a. Monthly income from all sources after payroll deductions
         (take-home pay plus any other income)                                        $_________

         b. Monthly expenses (including all reaffirmed debts except
         this one)                                                                    $_________

         c. Amount available to pay this reaffirmed debt (subtract b. from a.)        $_________

         d. Amount of monthly payment required for this reaffirmed debt               $_________

         If the monthly payment on this reaffirmed debt (line d.) is greater than the amount you have available to
         pay this reaffirmed debt (line c.), you must check the box at the top of page one that says “Presumption
         of Undue Hardship.” Otherwise, you must check the box at the top of page one that says “No
         Presumption of Undue Hardship.”

   2.    You believe that this reaffirmation agreement will not impose an undue hardship on you or your
         dependents because:

         Check one of the two statements below, if applicable:

         ’         You can afford to make the payments on the reaffirmed debt because your monthly income is
                   greater than your monthly expenses even after you include in your expenses the monthly
                   payments on all debts you are reaffirming, including this one.

         ’         You can afford to make the payments on the reaffirmed debt even though your monthly income
                   is less than your monthly expenses after you include in your expenses the monthly payments on
                   all debts you are reaffirming, including this one, because:
                   ______________________________________________________________________________
                   ______________________________________________________________________________
                   ______________________________________________________________________________

         Use an additional page if needed for a full explanation.

D. If your answers to BOTH questions A. and B. above were “Yes,” check the following
statement, if applicable:

         ’         You believe this Reaffirmation Agreement is in your financial interest and you can afford to
                   make the payments on the reaffirmed debt.

Also, check the box at the top of page one that says “No Presumption of Undue Hardship.”
Form 2400A, Reaffirmation Documents                                                                          Page 5


PART V. DISCLOSURE STATEMENT AND INSTRUCTIONS TO DEBTOR(S)

Before agreeing to reaffirm a debt, review the terms disclosed in the Reaffirmation Agreement (Part I
above) and these additional important disclosures and instructions.

Reaffirming a debt is a serious financial decision. The law requires you to take certain steps to make sure the
decision is in your best interest. If these steps, which are detailed in the Instructions provided in Part V, Section
B below, are not completed, the Reaffirmation Agreement is not effective, even though you have signed it.

A.        DISCLOSURE STATEMENT

     1.   What are your obligations if you reaffirm a debt? A reaffirmed debt remains your personal legal
          obligation to pay. Your reaffirmed debt is not discharged in your bankruptcy case. That means that if
          you default on your reaffirmed debt after your bankruptcy case is over, your creditor may be able to take
          your property or your wages. Your obligations will be determined by the Reaffirmation Agreement,
          which may have changed the terms of the original agreement. If you are reaffirming an open end credit
          agreement, that agreement or applicable law may permit the creditor to change the terms of that
          agreement in the future under certain conditions.

     2.   Are you required to enter into a reaffirmation agreement by any law? No, you are not required to
          reaffirm a debt by any law. Only agree to reaffirm a debt if it is in your best interest. Be sure you can
          afford the payments that you agree to make.

     3.   What if your creditor has a security interest or lien? Your bankruptcy discharge does not eliminate
          any lien on your property. A ‘‘lien’’ is often referred to as a security interest, deed of trust, mortgage, or
          security deed. The property subject to a lien is often referred to as collateral. Even if you do not
          reaffirm and your personal liability on the debt is discharged, your creditor may still have a right under
          the lien to take the collateral if you do not pay or default on the debt. If the collateral is personal
          property that is exempt or that the trustee has abandoned, you may be able to redeem the item rather
          than reaffirm the debt. To redeem, you make a single payment to the creditor equal to the current value
          of the collateral, as the parties agree or the court determines.

     4.   How soon do you need to enter into and file a reaffirmation agreement? If you decide to enter into
          a reaffirmation agreement, you must do so before you receive your discharge. After you have entered
          into a reaffirmation agreement and all parts of this form that require a signature have been signed, either
          you or the creditor should file it as soon as possible. The signed agreement must be filed with the court
          no later than 60 days after the first date set for the meeting of creditors, so that the court will have time
          to schedule a hearing to approve the agreement if approval is required. However, the court may extend
          the time for filing, even after the 60-day period has ended.

     5.   Can you cancel the agreement? You may rescind (cancel) your Reaffirmation Agreement at any time
          before the bankruptcy court enters your discharge, or during the 60-day period that begins on the date
          your Reaffirmation Agreement is filed with the court, whichever occurs later. To rescind (cancel) your
          Reaffirmation Agreement, you must notify the creditor that your Reaffirmation Agreement is rescinded
          (or canceled). Remember that you can rescind the agreement, even if the court approves it, as long as
          you rescind within the time allowed.
Form 2400A, Reaffirmation Documents                                                                        Page 6


     6.   When will this Reaffirmation Agreement be effective?

          a. If you were represented by an attorney during the negotiation of your Reaffirmation
          Agreement and

                   i. if the creditor is not a Credit Union, your Reaffirmation Agreement becomes effective when
                   it is filed with the court unless the reaffirmation is presumed to be an undue hardship. If the
                   Reaffirmation Agreement is presumed to be an undue hardship, the court must review it and may
                   set a hearing to determine whether you have rebutted the presumption of undue hardship.

                   ii. if the creditor is a Credit Union, your Reaffirmation Agreement becomes effective when it
                   is filed with the court.

          b. If you were not represented by an attorney during the negotiation of your Reaffirmation
          Agreement, the Reaffirmation Agreement will not be effective unless the court approves it. To have the
          court approve your agreement, you must file a motion. See Instruction 5, below. The court will notify
          you and the creditor of the hearing on your Reaffirmation Agreement. You must attend this hearing, at
          which time the judge will review your Reaffirmation Agreement. If the judge decides that the
          Reaffirmation Agreement is in your best interest, the agreement will be approved and will become
          effective. However, if your Reaffirmation Agreement is for a consumer debt secured by a mortgage,
          deed of trust, security deed, or other lien on your real property, like your home, you do not need to file a
          motion or get court approval of your Reaffirmation Agreement.

     7.   What if you have questions about what a creditor can do? If you have questions about reaffirming a
          debt or what the law requires, consult with the attorney who helped you negotiate this agreement. If you
          do not have an attorney helping you, you may ask the judge to explain the effect of this agreement to
          you at the hearing to approve the Reaffirmation Agreement. When this disclosure refers to what a
          creditor “may” do, it is not giving any creditor permission to do anything. The word “may” is used to
          tell you what might occur if the law permits the creditor to take the action.

B.        INSTRUCTIONS

     1.   Review these Disclosures and carefully consider your decision to reaffirm. If you want to reaffirm,
          review and complete the information contained in the Reaffirmation Agreement (Part I above). If your
          case is a joint case, both spouses must sign the agreement if both are reaffirming the debt.

     2.   Complete the Debtor’s Statement in Support of Reaffirmation Agreement (Part II above). Be sure that
          you can afford to make the payments that you are agreeing to make and that you have received a copy of
          the Disclosure Statement and a completed and signed Reaffirmation Agreement.

     3.   If you were represented by an attorney during the negotiation of your Reaffirmation Agreement, your
          attorney must sign and date the Certification By Debtor’s Attorney (Part IV above).

     4.   You or your creditor must file with the court the original of this Reaffirmation Documents packet and a
          completed Reaffirmation Agreement Cover Sheet (Official Bankruptcy Form 427).

     5.   If you are not represented by an attorney, you must also complete and file with the court a separate
          document entitled “Motion for Court Approval of Reaffirmation Agreement” unless your Reaffirmation
          Agreement is for a consumer debt secured by a lien on your real property, such as your home. You can
          use Form 2400B to do this.
Form 2400A, Reaffirmation Documents                                                                        Page 7


C.        DEFINITIONS

     1.   “Amount Reaffirmed” means the total amount of debt that you are agreeing to pay (reaffirm) by
          entering into this agreement. The total amount of debt includes any unpaid fees and costs that you are
          agreeing to pay that arose on or before the date of disclosure, which is the date specified in the
          Reaffirmation Agreement (Part I, Section B above). Your credit agreement may obligate you to pay
          additional amounts that arise after the date of this disclosure. You should consult your credit agreement
          to determine whether you are obligated to pay additional amounts that may arise after the date of this
          disclosure.

     2.   “Annual Percentage Rate” means the interest rate on a loan expressed under the rules required by
          federal law. The annual percentage rate (as opposed to the “stated interest rate”) tells you the full cost
          of your credit including many of the creditor’s fees and charges. You will find the annual percentage
          rate for your original agreement on the disclosure statement that was given to you when the loan papers
          were signed or on the monthly statements sent to you for an open end credit account such as a credit
          card.

     3.   “Credit Union” means a financial institution as defined in 12 U.S.C. § 461(b)(1)(A)(iv). It is owned
          and controlled by and provides financial services to its members and typically uses words like “Credit
          Union” or initials like “C.U.” or “F.C.U.” in its name.
